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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

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CASE NO.: pity gg
bo:Ib-ev— 2\8-0RL- Y1-TBS
COLLECTIVE ACTION

JANERIO DWONNE BELL, individually
and on behalf of all those similarly
situated,

Plaintiffs,
vs.

JAMES C. HALL, INC. and JAMES C. HALL,
Individually,

Defendants.
/

PLAINTIFF’S COLLECTIVE ACTION COMPLAINT
AND DEMAND FOR JURY TRIAL

COMES NOW the named Plaintiff, JANERIO DWONNE BELL, individually and
on behalf of all other similarly situated employees, (hereinafter referred to as “MR. BELL”
or “Plaintiff’), by and through undersigned counsel, hereby files his Collective Action
Complaint and Demand for Jury Trial against JAMES C. HALL, INC. and JAMES C.
HALL, individually, and state as follows:

I. INTRODUCTION
1. This is a collective action under the Federal Fair Labor Standards Act, for

failure to pay overtime wages in violation of the Fair Labor Standards Act, as amended, 29

U.S.C. Section 201, e. seq. (hereinafter “FLSA”).
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2. MR. BELL brings this action on behalf of himself as well as other similarly
situated employees who were employed by Defendants as laborers and were paid an hourly
rate. (hereinafter referred to as “Laborer[s].”).

3. MR. BELL will seek conditional certification and notice to an opt-in class
of “Laborers” who are or were employed by Defendants during the three years preceding
the filing of the Complaint; were paid an hourly rate; and were not properly paid overtime
wages in violation of the Fair Labor Standards Act pursuant to the FLSA.

Il. JURISDICTION AND VENUE

4, This Court has jurisdiction to hear this Complaint pursuant to 28 U.S.C.
Section 1331 and 29 U.S.C. Section 201.

5. Venue is proper in this Court under 28 U.S.C. Section 1391(b) because a
substantial part of the events or omissions giving rise to the claims occurred in Seminole
County, Florida in the Orlando Division of the Middle District of Florida.

Ill. THE PARTIES

6. MR. BELL began his employment with Defendants as a Laborer
approximately November 2013 to December 2014.

7. As a Laborer, MR. BELL’s job duties included but were not limited to,
laying and repairing asphalt.

8. As a Laborer, MR. BELL was and is paid an hourly rate.

9. MR. BELL was an employee of the Defendants within the meaning of the

law and the FLSA.
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10. = Atall times relevant to the their employment, MR. BELL regularly used the
instrumentalities of interstate commerce while performing his work. At all times relevant
to their employment, MR. BELL also regularly used the channels of commerce while
performing his work.

11. The Defendant, JAMES C. HALL, INC. is a construction company that
maintains and operates an asphalt paving, repair and sealcoating division in Winter
Springs, Florida. Defendant, JAMES C. HALL, INC. is an "employer" as defined by 29
U.S.C. Section 203(d). The Defendant, JAMES C. HALL, INC. has employees subject to
the provisions of the FLSA, 29 U.S.C. Section 207, in the facility where MR. BELL was
employed.

12. Defendant, JAMES C. HALL, INC. has employed two or more persons,
including MR. BELL, "engaged in commerce or in the production of goods for commerce,”
or has “had employees handling, selling, or otherwise working on goods or materials that
have been moved in or produced for commerce by a person,” as defined by 29 U.S.C.
Section 203(s)(1)(A)(i).

13. MR. BELL avers that at all times relevant to the violations of the Fair Labor
Standards Act Defendant, JAMES C. HALL, INC. was an enterprise whose annual gross
volume of sales made or business done was not less than $500,000, in accordance with 29
U.S.C. 203(s)(1)(A)(ii).

14. Defendant, JAMES C. HALL, is an officer of Defendant, JAMES C.
HALL, INC.

15. Defendant, JAMES C. HALL, is involved in the day-to-day operation of

Defendant, JAMES C. HALL, INC.
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16. Defendant, JAMES C. HALL, guided the company policies of JAMES C.
HALL, INC.

17. Defendant. JAMES C. HALL, actively engaged in the management,
supervision, and oversight of Defendant, JAMES C. HALL, INC.

18. Defendant, JAMES C. HALL had control over the financial affairs of
Defendant, JAMES C. HALL, INC.

19. Defendant, JAMES C. HALL, could have authorized Defendant, JAMES
C. HALL, INC.’s compliance with the Fair Labor Standards Act.

20. Defendant, JAMES C. HALL at all times material hereto was acting directly
or indirectly in the interest of Defendant, JAMES C. HALL, INC. in relation to JAMES C.
HALL’s employees and was substantially in control of the terms and conditions of the
employees’ work and is a statutory employer under 29 U.S.C. Section 203(d).

21. ‘Plaintiffs have retained LaBar & Adams, P.A. to represent them in this
matter and have agreed to pay said firm a reasonable attorney’s fee for its services.

IV. FACTUAL ALLEGATIONS

22. Plaintiffs re-allege and incorporate herein the allegations contained in
paragraphs 1 through 20, above.

23. The Defendant, JAMES C. HALL, INC. is a construction company that
performs asphalt repair and paving.

24. The Defendant, JAMES C. HALL is in the business of construction to
include asphalt paving, asphalt repair, asphalt resurfacing, sealcoating, and asphalt
maintenance. At all times relevant to the violation of the FLSA, Defendant was an

enterprise engaged in commerce or in the production of goods for commerce.
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25. MR. BELL, and all other similarly situated Laborers, were hired by
Defendant to work on its crews laying asphalt, doing repairs and sealcoating.

26. Throughout his employment, MR. BELL, as well as others similarly
situated, had numerous workweeks where their hours worked exceeded forty in a given
workweek.

27. MR. BELL, and all other similarly situated Laborers, were hired and
employed by Defendant as Laborers and were compensated on an hourly basis.

28. Defendant, JAMES C. HALL, INC. had a companywide policy that applied
to all its Laborers which provided that Laborers would cease being paid upon leaving the
last jobsite of the day. As a result of this policy, the Laborers were not paid for their return
travel time to Defendant’s premise and the work performed by the Laborers once they
returned to the Defendant’s premise.

29. As aresult of the foregoing policy, the Laborers compensation resulted in a
violation of the FLSA when the Laborers worked in excess of forty (40) hours in that
workweek.

30. Defendant, JAMES C. HALL, INC., had a policy of automatically
deducting a one hour lunch break from all Laborers hours each workday.

31. Defendant, JAMES C. HALL, INC., automatically deducted a one hour
lunch break each workday from all Laborers even when a lunch break was not taken or had
been interrupted.

32. The automatic deduction of a one hour lunch break even though the

Laborers did not take a lunch break or their lunch breaks were interrupted resulted in a
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violation of the FLSA when the Laborers worked in excess of forty (40) hours in that
workweek.

33. Defendant, JAMES C. HALL, had knowledge that MR. BELL, as well as
other similarly situated Laborers, were working overtime without proper compensation.

34. | The Defendant failed to make a good faith effort to determine if MR. BELL
and similarly situated Laborers were being compensated appropriately pursuant to the
FLSA.

35. | Defendant, JAMES C. HALL, INC., has also failed to maintain and keep
accurate time records as required by the Fair Labor Standards Act. See e.g. 29 U.S.C. §§
211(c); 215(a); 29 C.F.R. § 516, ef. al.

36. Defendant, JAMES C. HALL, INC., also failed to post the required notice
pursuant to the Fair Labor Standards Act.

V. COLLECTIVE ACTION ALLEGATIONS AS TO LABORERS

 

37. MR. BELL, brings this action on behalf of himself and on behalf of
similarly situated Laborers. Specifically, he brings this claim under the Fair Labor
Standards Act as a collective action, and will request the Court to grant conditional
certification under 29 U.S.C. Section 216(b), and to order notices to potential opt-in
individuals who were employed by Defendants within the previous three (3) years as a
Laborer at JAMES C. HALL, INC.

38. While working for JAMES C. HALL, MR. BELL, and the similarly situated
Laborers, had similar job duties, were paid the same, and were subject to the same illegal

policies and practices.
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39. Defendant, JAMES C. HALL, INC., hired numerous Laborers similarly
situated to the named Plaintiff, MR. BELL, who performed the same work, were paid the
same, and were subject to the same illegal pay policies and practices as the named
Plaintiffs.

40. Defendant’s unlawful compensation practices are in willful disregard of the
rights of MR. BELL and other similarly situated Laborers.

COUNTI
VIOLATION OF THE OVERTIME PROVISION OF THE
FAIR LABOR STANDARDS ACT

41. Plaintiffs re-allege and incorporate herein the allegations contained in
paragraphs 6 through 20 and 23 through 40, above.

42. Throughout the employment of MR. BELL and all other similarly situated
Laborers, the Defendant, JAMES C. HALL, INC., repeatedly and willfully violated Section
7 and Section 15 of the Fair Labor Standards Act by failing to compensate MR. BELL and
all other similarly situated Laborers, at a rate not less than one and one-half times the
regular rate at which they were employed for workweeks longer than forty (40) hours.

43. Specifically, MR. BELL, and all other similarly-situated Laborers, worked
numerous weeks in excess of forty (40) hours a week, yet were not compensated for all
work in excess of forty (40) hours at a rate not less than one and one-half times the regular
rate at which they were employed.

44. Throughout the employment of MR. BELL, and all other similarly situated
Laborers, Defendant, JAMES C. HALL, was an officer of Defendant, JAMES C. HALL,

INC.
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45. | Throughout the employment of MR. BELL, and all other similarly situated
Laborers, Defendant, JAMES C. HALL, was involved in the day-to-day operation of
Defendant, JAMES C. HALL, INC.

46. Throughout the employment of MR. BELL, and all other similarly situated
Laborers, Defendant, JAMES C. HALL, guided the company policies of Defendant,
JAMES C. HALL, INC.

47. Throughout the employment of MR. BELL, and all other similarly situated
Laborers, Defendant, JAMES C. HALL, was actively engaged in the management,
supervision, and oversight of Defendant, JAMES C. HALL, INC.

48. | Throughout the employment of MR. BELL, and all other similarly situated
Laborers, Defendant, JAMES C. HALL, could have authorized Defendant, JAMES C.
HALL, INC.’s compliance with the Fair Labor Standards Act.

49. Throughout the employment of MR. BELL, and all other similarly situated
Laborers, Defendant, JAMES C. HALL, had control over the financial affairs of
Defendant, JAMES C. HALL, INC.

50. Throughout the employment of MR. BELL, and all other similarly situated
Laborers, Defendant, JAMES C. HALL, at all times material hereto was acting directly or
indirectly in the interest of Defendant, JAMES C. HALL, INC. in relation to JAMES C.
HALL, INC.’s employees and was substantially in control of the terms and conditions of
the employees’ work and is a statutory employer under 29 U.S.C. Section 203(d).

41. Defendant, JAMES C. HALL, INC., failed to maintain and keep accurate
time records as required by the Fair Labor Standards Act. See e.g. 29 U.S.C. §§ 211(c);

215(a);|29 C.F.R. § 516, et. al.
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52. Defendant, JAMES C. HALL, INC., failed to post the required notice
pursuant to the Fair Labor Standards Act.

WHEREFORE. MR. BELL, individually and on behalf of all others similarly
situated, demands judgment against Defendants, jointly and severally, for the following:

(a) Unpaid overtime wages found to be due and owing;

(b) An additional equal amount equal to the unpaid overtime wages found to

be due and owing as liquidated damages;

(c) Prejudgment interest in the event liquidated damages are not awarded;

(d) A reasonable attorney’s fee and costs; and,

(e) Such other relief as the Court deems just and equitable.

JURY TRIAL DEMAND

Plaintiff demands a jury trial on all issues contained herein this Complaint.

Dated: 0 / Cf lb Respectfully su

SCOTT C. ADAMS, ESQ.
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